Case 21-12907-amc        Doc 83   Filed 07/15/22 Entered 07/15/22 21:48:53         Desc Main
                                  Document     Page 1 of 7




Albert A. Ciardi, III, Esquire
Daniel S. Siedman, Esquire
CIARDI CIARDI & ASTIN
1905 Spruce Street,
Philadelphia, PA 19103
aciardi@ciardilaw.com
dsiedman@ciardilaw.com
Telephone: (215) 557-3550
Facsimile: (215) 557-3551

Attorneys for the Debtor


                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                            :   Chapter 11
                                                  :
58 YORK PARTNERS, LLC                             :
                                                  :
                                 Debtor.          :   Bankruptcy No. 22-12907(AMC)
                                                  :

   MOTION OF THE DEBTOR AND DEBTOR-IN-POSSESSION TO MODIFY THE
                    FIRST PLAN OF REORGANIZATION
     PURSUANT TO 11 U.S.C. §1127(a) AND FEDERAL RULE OF BANKRUPTCY
   PROCEDURE 3019, CONSIDER ALL PREVIOUSLY SUBMITTED BALLOTS AS
      ACCEPTING THE MODIFIED PLAN, AND TO PERMIT LATE BALLOTS
    PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9006(b)(1)

         58 York Partners, LLC (the “Debtor”), by and through counsel, Ciardi Ciardi & Astin,

hereby moves (the “Motion”) this Honorable Court for the entry of an Order modifying the

Debtor’s First Plan of Reorganization pursuant to 11 U.S.C. §1127(a) and Federal Rule of

Bankruptcy Procedure 3019, considering all previously submitted accepting ballots as accepting

the First Modified Plan (the “First Modified Plan”), and permitting late ballots pursuant to

Federal Rule of Bankruptcy Procedure 9006(b)(1). In support thereof, the Debtor avers as

follows:

                                              1
Case 21-12907-amc        Doc 83   Filed 07/15/22 Entered 07/15/22 21:48:53            Desc Main
                                  Document     Page 2 of 7




                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction over the subject matter of the Motion pursuant to 28

U.S.C. §§157 and 1334. This matter concerns the administration of the bankruptcy estate and is,

therefore, a core proceeding pursuant to 28 U.S.C. §§157(b)(2)(A) and (M). Venue of this case

is proper in this Court pursuant to U.S.C. §§1408 and 1409. The predicate for the relief sought

herein is 11 U.S.C. §1127(a) and Federal Rules of Bankruptcy Procedure 3019 and 9006(b)(1).

                                        BACKGROUND

        2.     On October 27, 2022, (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code, as amended (the “Bankruptcy

Code”). Pursuant to sections 1107 and 1108 of the Bankruptcy Code, the Debtor continues to

operate its business as a Debtor-in-Possession.

        3.     The Debtor owns real property located at 58 York Road, Hatboro, Pennsylvania

19090 in Montgomery County.

        4.     On April 1, 2022, the Debtor filed its First Plan (the “Plan”) and First Disclosure

Statement (the “Disclosure Statement”). See Docket Numbers 45 and 46.

        5.     A hearing on the Disclosure Statement was held on April 27, 2022.

        6.     On or about May 2, 2022, an Order was entered approving the Disclosure

Statement and setting a hearing for Confirmation on June 29, 2022. See Docket Number 55.

        7.     The Confirmation Hearing on the Plan was initially scheduled for June 29, 2022.

The Confirmation Hearing was subsequently adjourned and is currently scheduled for July 20,

2022.

                                                  2
Case 21-12907-amc         Doc 83   Filed 07/15/22 Entered 07/15/22 21:48:53             Desc Main
                                   Document     Page 3 of 7




       8.       On July 14, 2022 (same date as this Motion), the Debtor filed the First Modified

Plan (the “First Modified Plan”). A blackline version illustrating all changes from the last filed

plan is attached hereto and incorporated herein as Exhibit A.

       9.       The Debtor seeks authority from this court to confirm its First Modified Plan,

consider all previously submitted accepting ballots as accepting the First Modified Plan, and

permit late ballots pursuant to Federal Rule of Bankruptcy Procedure 9006(b)(1).

       10.      The Debtor modified the plan in the following manner:

             a. The Debtor modified the treatment of Class 3 to provide for The Debtor proposes

                to pay the Class 3 Claim the amount of $1,466,000.00 on or before the Effective

                Date in full and final settlement of all monies due and owing. The payment of

                this amount shall satisfy the Class 3 Claim in full. Rich Ianieri, a private lender,

                will loan a total of $1,475,000.00 to the Debtor in exchange for a security interest

                in the Property.

             b. The Debtor modified the Priority Tax Claims and (Class 4 Claimant) to include

                the following: The Debtor proposes to pay the 2021 taxes (Local, County and

                School) owed to the Montgomery County Tax Claim Bureau in full upon the

                Effective Date.

             c. The Debtor also modified Section 6.1 (Plan Implementation), Section 6.9 (Plan

                Funding) and Section 6.10 (New Member Interests) to account for the loan to the

                Debtor from Rich Ianieri, the collateral provided to Rich Ianieri on account of that

                loan including, but not limited to, a mortgage on the Debtor’s Property located at

                58 York Road.

                                                 3
Case 21-12907-amc          Doc 83   Filed 07/15/22 Entered 07/15/22 21:48:53          Desc Main
                                    Document     Page 4 of 7




   THE BASIS FOR THE RELIEF REQUESTED AND THE REASONS THEREFOR

       11.     Pursuant to 11 U.S.C. §1127(a), the Debtor seeks authority to modify the Plan

before Confirmation.

       12.     Section 1127(a) provides, in pertinent part, as follows:

               [t]he proponent of a plan may modify such plan at any time before confirmation
               but may not modify such plan so that such plan as modified fails to meet the
               requirements of sections 1122 and 1123 of this title. After the proponent of a plan
               files a modification of such plan with the court, the plan as modified becomes the
               plan.

11U.S.C. §1127(a).

       13.     Moreover, under section 1127(d) a holder can change its previous acceptance or

rejection of the plan. See 11 U.S.C. § 1127(d).

       14.     The Debtor believes and therefore avers, that the modification requested does not

adversely impact the treatment of claims in any of the classes that have accepted the Plan and

that their acceptance need not be re-solicited. Thus, as required by Rule 3019, the proposed

modification as set forth in this Motion does not adversely change the treatment to the class of

any claim of any creditor who has not accepted the modification.

       15.     All of the foregoing modifications do not adversely affect the class of the

respective creditors, the Debtor’s reorganization or any other class.

       16.     The First Modified Plan complies with 11 U.S.C. §§ 1122 and 1123.

       17.     The Debtor received one ballot in Class 5 (Upper Moreland Sewer) accepting the

Plan (the “Initial Class 5 Accepting Ballots”). Contingent upon this Court’s approval of the First

Modified Plan, the Debtor requests the Initial Class 5 Accepting Ballots count as acceptances of

the First Modified Plan.

                                                  4
Case 21-12907-amc        Doc 83       Filed 07/15/22 Entered 07/15/22 21:48:53        Desc Main
                                      Document     Page 5 of 7




       18.     Finally, Debtor requests this Court permit the Debtor to re-solicit Ballots to the

remaining creditors. The Debtor received three (3) objections to the Plan. The Debtor has altered

its payment of Class 3 Secured Claim of Berkshire Bank so that they are paid a lump sum at the

Effective Date. Two (2) of the Objections were based primarily on feasibility of the Debtor’s

Plan and the Debtor’s ability to make plan payments over a five (5) year time period. The

Debtor has sought to resolve that by re-financing the Property and paying Berkshire a lump sum

on the Effective Date. Moreover, the Debtor received an objection from Class 4 Claim of the

Montgomery County Tax Bureau regarding unpaid 2021 taxes that became due post-petition.

The Debtor has modified the plan to include this amount as an Administrative Claim that will be

paid in full on the Effective Date.

       19.     The relief requested herein will not adversely affect any of the Debtor’s creditors

and will allow the Debtor to resolve the outstanding objections.




                                                 5
Case 21-12907-amc         Doc 83     Filed 07/15/22 Entered 07/15/22 21:48:53               Desc Main
                                     Document     Page 6 of 7




        WHEREFORE, the Debtor respectfully requests that this Court enter an Order: (i)

approving its First Modified Plan, considering the Initial Ballots as accepting the First Modified

Plan, (ii) permitting late ballots and (iii) granting such other and further relief that this Court

deems just and proper under the circumstances.



                                                 Respectfully submitted,

Dated: July 15, 2022                             CIARDI CIARDI & ASTIN

                                                 /s/ Daniel S. Siedman
                                                 Albert A. Ciardi, III, Esquire
                                                 Daniel S. Siedman, Esquire
                                                 1905 Spruce Street
                                                 Philadelphia, PA 19103
                                                 (T) (215) 557-3550
                                                 (F) (215) 557-3551


                                                 Attorneys for the Debtor and
                                                 Debtor-in-Possession




                                                   6
Case 21-12907-amc   Doc 83   Filed 07/15/22 Entered 07/15/22 21:48:53   Desc Main
                             Document     Page 7 of 7




                                        7
